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 9
                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11
       UNITED STATES OF AMERICA,                        No. 17-CR-0623-JLS
12
                           Plaintiff,                   RESPONSE BY THE UNITED
13                  v.                                  STATES IN OPPOSITION TO
                                                        THE DEFENDANTS’ MOTION
14     DAVID NEWLAND, ET AL.,                           TO DISMISS FOR
                                                        PROSECUTOR MISCONDUCT
15                         Defendants.
16
           The Defendants have moved this Court to dismiss the indictment with prejudice.
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     Dismissal is disproportionate to the issues identified, and remedies far short of
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     dismissal will ensure that this trial is fair. The Ninth Circuit has made clear that courts
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     can exercise their supervisory power to dismiss only if there is “flagrant misbehavior”
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     that causes “substantial prejudice” to the defense. United States v. Kearns, 5 F.3d
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     1251, 1253 (9th Cir. 1993). Conduct that is “negligent, or even grossly negligent” is
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     not sufficient to meet this standard. Id. at 1255. And even when these requirements
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     are met, a court must approach “the remedy with some caution and with a view toward
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     balancing the interests involved.” United States v. Bundy, 968 F.3d 1019, 1031 (9th
25
     Cir. 2020). The Court must also “have concluded that there is no lesser remedial action
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     available to it.” Id. Remedies should be “tailored” to the injury. United States v.
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     Struckman, 611 F.3d 560, 577 (9th Cir. 2010). In short, dismissal of an otherwise valid
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 1 criminal indictment is a “drastic” and “disfavored” remedy. United States v. Jacobs,
 2 855 F.2d 652, 655 (9th Cir. 1988). 1 None of the Defendants’ many allegations of
 3 misconduct – either alone or in combination – support dismissal of the Indictment.
 4 This Court should deny the motion and allow the case to be submitted to the jury.
 5 I.      THE ALLEGED FALSE STATEMENTS DO NOT WARRANT
 6         DISMISSAL2
 7         A.    Factual Background
 8         Prior to the start of trial, the United States attempted to locate and contact
 9 approximately five women previously hired as prostitutes by Leonard Francis to see if
10 they could be persuaded to come to the United States to testify. April 26, 2022 AM
11 Tr. 24, 76. In early March, after trial had begun, agents successfully contacted one of
12 the former prostitutes, known as “Ynah,” by telephone in the Philippines. Id. at 34.
13 During an initial call, Ynah told agents that her husband did not want her to come to
14 the United States to testify. April 26, 2022 PM Tr. 118. She also offered, unprompted,
15 that she falsely told Leonard Francis that she had sex with someone, in order to get
16 paid, but she refused to tell the agents who that person was. Id. Because the reception
17 was bad on the initial call, agents provided a WhatsApp number to facilitate another
18 call. Id. at 114. Ynah then responded by text that she was hungover, so agents offered
19 to talk on another day. Id. at 115. She also sent text messages, again unprompted,
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21   1    In the post-trial context, “the appropriate remedy” for a Brady or Giglio
   violations “will usually be a new trial,” not dismissal. United States v. Kohring, 637
22 F.3d 895, 913 (9th Cir. 2011).
23
   2      On May 3, 2022, the Defendants filed a motion to dismiss, alleging the United
24 States (1) failed to comply with Brady v. Maryland, 373 U.S. 83 (1963), (2) failed to
25 “correct a false narrative, (3) offered improper payments to witnesses, and (4) made
   false statements to the Court. Doc. 873. The United States responded to the first three
26
   arguments but reserved briefing on the alleged false statements to correspond with the
27 Defendants’ “omnibus” misconduct motion. Doc. 896. The first half of this response
   addresses the alleged false statements and the second half addresses the allegations
28
   from the omnibus motion.
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 1 stating “[t]hat particular person, he doesn’t even look like that he wants me to go with
 2 him but Leonard really pushed for it, so I still went with him in his room but nothing
 3 happened, I even slept on the couch lol.” Doc. 846.
 4         Agent Oscar Cunha spoke with Ynah on the phone a few days later, and he
 5 recalled that while Ynah was “cordial” she “made it clear that she did not want to
 6 participate, she did not want to come to San Diego, she did not want to talk to us.”
 7 April 27, 2022 PM Tr. 120. Agent Trey De La Pena got the same impression. Id. at
 8 50 (“[S]he had no interest in testifying, and my recollection is that she didn’t want to
 9 talk anymore.”). In addition, the only purpose of the initial contact with Ynah was to
10 confirm her identity and see if she would be willing to travel to the United States to
11 testify – not to conduct a substantive interview over the phone. April 26, 2022 PM Tr.
12 117; April 27, 2022 PM Tr. 113. When Ynah made it clear that “she didn’t want to
13 come to the United States,” agents did not attempt to obtain any more information
14 from her over the phone. April 26, 2022 PM Tr. at 122.
15         After the contact with Ynah, agents approached AUSA Mark Pletcher with
16 questions about the correct format for preparing a report of their interaction, since it
17 would include both “negative reporting” that would not normally require a report, as
18 well as the unprompted, substantive text messages. April 26, 2022 PM Tr. 128; April
19 27, 2022 PM Tr. 121; April 28, 2022 AM Tr. 11. Although the agent showed AUSA
20 Pletcher the WhatsApp messages on his phone, by scrolling down on the screen,
21 AUSA Pletcher did not read the substance of the messages, and responded “let me
22 think about this” in response to the question of how to best prepare a report. April 28,
23 2022 AM Tr. 10–11; April 27, 2022 PM Tr. 121. As the trial continued, agents
24 attempted to raise the issue several more times with AUSA Pletcher, but he responded
25 that they should “circle back” about the proper format, because he did not have time
26 to address the issue given the demands of trial. April 28, 2022 AM Tr. 10–11. These
27 interactions were “fleeting,” with some lasting just a few seconds, and they always
28 focused on the correct form of the report, not the substance of the communications

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 1 with Ynah. Id. at 46, 50. In fact, throughout this time, AUSA Pletcher had still “never
 2 seen the content of the contact on the telephone call,” nor had he “seen the entirety of
 3 the text message string,” or been “able to talk substantively” with the agents about its
 4 content.    Id. at 67. AUSA Pletcher also never raised the issue with any other
 5 prosecutors on the team, but he was not aware “whether the agents talked to [the other
 6 prosecutors] independently” after they spoke with him. Id. at 59.
 7         On April 20, 2022, Defendant Lausman’s attorney, Bob Boyce, raised an
 8 objection to the upcoming testimony of a witness who observed his client leaving a
 9 party in Manila with a prostitute. April 20, 2022 Tr. 82. After some back and forth
10 about what specific testimony Mr. Boyce was trying to exclude, the Court interjected:
11         Let me stop you for a minute. I have no idea who is going to testify, but
12         I remember very well the Motion in Limine to let people come in here
13         under pseudonyms which was denied. Are these people [the prostitutes]
14         coming to testify? If you’re not going to tell the Court, it’s really, really
15         hard to get these rulings accurate, and it’s really, really hard to defend
16         this case, and it’s really, really hard to know where we’re going, folks so
17         take a moment and confer, if you need to. But there’s a point at which
18         people need to put – especially the government – I’m not asking the
19         defense, but the government needs to tell us who’s going to testify, folks.
20 Id. at 89. In response, AUSA Valerie Chu – who was at the podium after questioning
21 the previous witness – stated, “Your Honor, at this point, because the Court denied that
22 motion, we don’t have anyone willing to come and testify in their true names.” Id.
23 The Court responded that it did not “accept the fact that because the Court said these
24 women could not come in here under pseudonyms that that’s the basis for them not
25 showing up.” Id. The Court continued, “So you’re telling me they want to remain
26 anonymous, but if that’s what you want to tell the Court, that’s fine. It doesn’t sound
27 as though that’s the basis, but that’s fine. So we’re not going to hear from them.” April
28 20, 2022 Tr. at 89. AUSA Chu responded, “That is correct, Your Honor.” Id.

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 1         Immediately following this exchange, Mr. Boyce informed the Court that he had
 2 never received any report about the agents’ interview with Ynah. Id. at 90. When the
 3 Court asked whether any such report existed, AUSA Pletcher responded:
 4         I want to follow up with the agents because we were trying to contact a
 5         number of the women during that time and were looking for phone
 6         numbers on social media and things like that, contemporaneous with the
 7         motions, so I want to go back with the agents and just make sure that –
 8         whether there was any follow-up to that April report with respect to her .
 9         ...
10 Id. at 92. When the Court asked if the same issue was “going to come up with other
11 individuals where there might be additional reports relative to statements people have
12 made,” AUSA Pletcher responded “I’m not sure, Your Honor.” Id. He asked for a
13 “chance to go back and follow up with that particular issue.” Id.
14         After court, the prosecution team returned to the office, checked with the agents,
15 and confirmed that a report documenting the contact with Ynah had never been created
16 or produced. April 28, 2022 AM Tr. 69. AUSA Pletcher recognized that he “had
17 dropped the ball.” Id. at 73. He talked to the other members of the team, including
18 AUSA Wasserman, and explained that he “meant to get it done with the agent, and he
19 just had basically been overtaken by events,” and the report had inadvertently “fallen
20 through the cracks.” April 28, 2022 PM Tr. 17; April 28, 2022 AM Tr. 73. That night,
21 the agents and prosecution team prepared a report of the contact with Ynah and
22 produced it to the defense. April 28, 2022 AM Tr. 68.
23         At a hearing the next morning, AUSA Wasserman relayed this information to
24 the Court, explaining that “the writing of that report simply fell through the cracks.
25 That was inadvertent on our part.” April 21, 2022 Tr. 5. After a lengthy discussion
26 about whether an evidentiary hearing was needed, AUSA Wasserman attempted to
27 make a legal argument as to why the information provided by Ynah did not constitute
28 Brady material. Id. at 16. She explained that defense counsel already had the

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 1 information – in much more detail – based on an interview with a defense investigator,
 2 and the information Ynah provided the government was so vague that it was not
 3 actually “exculpatory.” Id. at 16. She noted that Ynah “didn’t give a name. She didn’t
 4 give a date. She didn’t give a party. She said she didn’t recognize individuals as
 5 members of the United States Navy. She gave extremely vague statements that wasn’t
 6 tied to time and place.” Id. When the Court responded, “This is your lead investigator
 7 who gets hold of somebody who’s a critical witness,” AUSA Wasserman responded
 8 “And she didn’t want to talk to them . . . . She just simply did not give federal agents
 9 that much information.” Id. at 16. Ultimately, after hearing additional argument from
10 both sides, the Court ordered an evidentiary hearing, and heard testimony from agents
11 and prosecutors over the course of three days.
12         B.    The Alleged False Statements Do Not Warrant Dismissal
13         The Defendants first argue that AUSA Pletcher “falsely informed” this Court,
14 on April 20, 2022, that he needed to “check with agents” about whether there had been
15 “follow up” to the initial reporting about Ynah. Doc. 873 at 8. The Defendants argue
16 this was inaccurate, because “he well knew” that agents had in fact spoken with Ynah
17 several times and had been asking him about writing a report for weeks. Id. But
18 AUSA Pletcher’s comment came in response to a direct question from the Court as to
19 whether any report existed documenting these contacts. April 20, 2022 Tr. 93 (“Is
20 there such a thing?”). He knew that agents had spoken with Ynah and approached him
21 about writing a report, but when this issue first resurfaced at the April 20 hearing, he
22 was unsure “in the intervening time period since it was last on [his] radar, whether
23 there was any follow-up” or “whether this report had been produced.” April 28, 2022
24 AM Tr. 68–69. That is, he did not know “whether agent Cunha or agent Kelley or any
25 of the other prosecutors had picked the issue up in the interim.” Id. It was certainly
26 not misconduct for him to ask the Court for more time to “go back and check,” and
27 then immediately turn over the missing report after confirming his error.
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 1         The Defendants next argue that it was inaccurate for AUSA Pletcher to respond
 2 to the Court’s question if “this issue is going to come up with other individuals where
 3 there might be additional reports,” with “I’m not sure, Your Honor. Certainly the
 4 names of various of these women are associated with various of the defendants.” Doc.
 5 873 at 8. The Defendants contend this was actually false, because AUSA Pletcher
 6 “knew that no woman had agreed to testify that she engaged in an act of prostitution
 7 with any of these defendants.” Id. But the Court did not ask whether any of the women
 8 had agreed to testify; the Court asked whether there were any “additional reports” that
 9 might be missing from discovery. April 20, 2022 Tr. 93. AUSA Pletcher’s response
10 of “I’m not sure” and “[g]ive us a chance to go back and follow up with that particular
11 issue” was entirely accurate.
12         In addition to these statements from AUSA Pletcher, Defendants also focus their
13 motion on several statements made by AUSA Wasserman at the April 21, 2022 hearing
14 the next day. First, they argue that it was a false statement for AUSA Wasserman to
15 tell the Court, “[W]e acknowledge that basically that writing of that report simply fell
16 through the cracks. That was inadvertent on our part.” Doc. 873 at 10. But that
17 statement is accurate. As this Court heard at the evidentiary hearing, the agents had a
18 question about the specific format that the report of their interactions with Ynah should
19 take. April 26, 2022 PM Tr. 128; April 27, 2022 PM Tr. 121; April 28, 2022 AM Tr.
20 11. While they raised the issue with AUSA Pletcher several times during trial, he
21 repeatedly told them to “circle back” on the issue, because he was busy, but he
22 ultimately “dropped the ball” and never made a final decision. April 28, 2022 AM Tr.
23 73. AUSA Pletcher acknowledged his mistake and explained what happened to the
24 other members of the prosecution team when they returned from court. Id. at 73 (“I
25 told [AUSA Wasserman] . . . that was not timely executed, that I dropped the ball, and
26 that that was inadvertent on my part and derivatively on the part of our entire
27 prosecution team.”). It was not misconduct for AUSA Wasserman to accurately relay
28 this information to the Court the next morning.

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 1         The Defendants next argue that it was “misleading” for AUSA Wasserman to
 2 suggest that Ynah was “unwilling to talk further with agents” after their initial contact.
 3 Doc. 873 at 10. But this was exactly how the agents recounted their interactions with
 4 Ynah. April 27, 2022 PM Tr. 120 (Agent Cunha: She “made it clear that she did not
 5 want to participate, she did not want to come to San Diego, she did not want to talk to
 6 us”); id. at 50 (Agent De La Pena: “[S]he had no interest in testifying, and my
 7 recollection is that she didn't want to talk anymore”). That is how AUSA Wasserman
 8 understood the interaction as well. April 28, 2022 PM Tr. 7 (“She wasn’t willing to
 9 talk to them anymore, and wasn’t willing to come here.”); id. at 8 (“[M]y
10 understanding was she wasn’t really willing to talk to the agents, that she had really
11 shut that down.”). Although the Defendants point to one text message from Ynah, at
12 the conclusion of her interaction with agents, in which she offers “if there are other
13 questions you want to ask, I would answer you what I know,” Doc. 873 at 12, when
14 viewed in context, that does not show that she actually wanted to continue talking with
15 the agents. Based on the entire interaction, including two phone calls and multiple text
16 messages, the agents understood that she did not want to cooperate, did not want to
17 travel to the United States, and did not want anything more to do with them. It was
18 not “misleading” for AUSA Wasserman to relay that understanding to the Court.
19         Defendants next argue that it was “misleading” for AUSA Wasserman to argue
20 that Ynah’s statements were too vague to link her to the case or identify which
21 defendant she was referring to. Doc. 873 at 11. But AUSA Wasserman’s statement,
22 “[S]he didn’t give a name. She didn’t give a date. She didn’t give a party,” came in
23 the context of a legal argument about whether the statements qualified as Brady
24 material at the time they were first received back in March. April 28, 2022 PM Tr. 9
25 (“It’s a little hard to divorce what I now know from what I knew back then.”). She
26 was not representing that the United States had never put two and two together and
27 figured out who Ynah was referring to by the time AUSA Wasserman made the
28 statement on April 21, 2022. AUSA Wasserman was just describing the vague nature

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 1 of Ynah’s comments – when comparing them to the “extent of the information that the
 2 defense” had at the time of the contact in March – as part of her broader Brady
 3 argument. April 21, 2022 Tr. 16. This was ultimately not a successful argument, but
 4 it was not misconduct.
 5         Finally, the Defendants point to a brief exchange at the April 20 hearing, when
 6 the Court recounted that it had denied a motion before trial to allow prostitutes to
 7 testify under a pseudonym and inquired whether any of those witnesses would be
 8 testifying. April 20, 2022 Tr. 89. AUSA Valerie Chu responded, “Your honor, at this
 9 point, because the Court denied that motion, we don’t have anyone willing to come
10 and testify in their true name.” Id. at 89. This was not accurate. The United States
11 had explored offering the possibility of anonymity when it made contact with prostitute
12 witnesses as one option for incentivizing the witnesses to testify. But from the outset,
13 there was a “low likelihood” that any of the witnesses would agree to testify, and there
14 were many reasons why each refused to travel to the United States. April 28, 2022
15 AM Tr. 33; April 26, 2022 PM Tr. 30. None of the witnesses refused to testify
16 “because” they would not be allowed to testify under a pseudonym, and the United
17 States should not have made this blanket assertion in response to the Court’s question.3
18         The United States acknowledges that its response to the Court’s question was
19 inaccurate – as the Court itself immediately recognized. Id. at 89 (“I don’t really accept
20 the fact that because the Court said these women could not come in here under
21 pseudonyms that that’s the basis for them not showing up. I truly don’t.”). But this
22 isolated statement during one exchange in this lengthy trial simply does not rise to the
23 level of “flagrant misbehavior” that would support dismissal of the indictment.
24 Kearns, 5 F.3d at 1253.
25
26   3
         When the Court expressed skepticism, AUSA Chu did not challenge the Court’s
27 view but merely confirmed that no prostitute witnesses would be testifying. AUSA
   Chu regrets the misstatement and appreciates the opportunity to apologize to the Court
28
   and acknowledge the mistake in this pleading.
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 1         In addition, the Defendants have also failed to show that they suffered
 2 “substantial prejudice” from any of the alleged misstatements by the prosecutors. Id.
 3 That showing requires the misstatement to have “had at least some impact on the
 4 verdict and thus redounded to the defendant’s prejudice.” United States v. Lopez, 4
 5 F.3d 1455, 1464 (9th Cir. 1993) (cleaned up). Here, the entire exchange with the Court
 6 took place outside the presence of the jury. April 20, 2022 Tr. 83 (“Let’s be sure right
 7 now, the people who are going to judge believability have left.”). When the jury
 8 returned, a week later, they never heard any testimony about the late-discovered report,
 9 nor did they hear anything about why prostitution witnesses were not called to testify.
10 In short, none of the prosecutors’ exchanges with the Court on April 20 and 21 had
11 any actual impact on the disputed issues at trial. There was therefore no “substantial
12 prejudice” that would support the “drastic” exercise of this Court’s supervisory powers
13 to dismiss the indictment. See United States v. Ross, 372 F.3d 1097, 1111 (9th Cir.
14 2004) (“We find no prejudice where the governmental misconduct is so distant and
15 vague in its relationship” to the specific defense at trial).
16 II.     NONE OF THE ISSUES RAISED IN THE OMNIBUS MOTION
17         WARRANT DISMISSAL
18         None of the issues raised by the Defendants in the omnibus motion to dismiss,
19 Doc. 902 – either individually or collectively – meet the high standard for the Court to
20 exercise its supervisory power to dismiss an indictment for prosecutorial misconduct.
21 The issues have either already been addressed by the Court (as the Defendants
22 concede, Doc. 902 at 3) or are not misconduct at all. The United States addresses each
23 issue in turn.
24         A.     The Court Has Already Ruled on Sanchez and Possible Child
25                Pornography
26         The issue of Jose Sanchez and possible child pornography on his computer has
27 been previously and extensively briefed before the Court. Docs. 851, 871, 884, 893.
28 Ultimately, the Court ruled:

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 1         As a sanction for the untimely disclosure and Defendants’ inability to
 2         retain an expert to examine the file, the Court is prepared to instruct the
 3         jurors that they may assume that the images are in fact child
 4         pornography. This places the Defendants in the same position, or
 5         perhaps even a better position, as they would have been had they
 6         received full information before trial.
 7 May 11, 2022 PM Tr. 111:3-9. The Court has therefore fully addressed the
 8 issue. 4
 9         The Defendants take issue with the fact that the United States offered evidence
10 that the provision in Sanchez’s plea agreement related to classified information and
11 not child pornography, characterizing that action as “doubl[ing] down.” Doc. 902 at
12 4. Yet that evidence was a signed declaration from Sanchez’s lawyer stating that the
13 language at issue was requested by him specifically to address classified information,
14 not child pornography. Doc. 893-1 at 1–2. This is not prosecutorial misconduct; it is
15 evidence of why Sanchez’s lawyer requested the language at issue in the plea
16 agreement. In any event, the Court was aware of this declaration when it addressed
17 the issue on May 11, 2022.
18         B.     The Court Has Already Ruled on GDMA’s Business Record
19                Certification
20         The United States fully admits that it had to correct GDMA’s business records
21 certification signed by Leonard Francis. Doc. 902 at 5. As explained when it filed the
22 corrected certification, the United States mistakenly appended a draft of its entire
23 exhibit list to the certification. Doc. 622 at 9. To correct the error, the United States
24   4
            The Court’s ruling was tentative, but the United States is no longer calling
25   Sanchez, thus obviating any prejudice of the late disclosure of discovery regarding
     impeachment. To the extent the Defendants claim that evidence that Sanchez may
26
     have possessed child pornography is somehow relevant and exculpatory even without
27   Sanchez’s testimony, their claims are ill-founded. That Sanchez may have possessed
     these images is irrelevant to a prosecution case without Sanchez and it fails to support
28
     any identified viable defense.
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 1 appended the correct list of documents and had Francis re-review the entire set to
 2 ensure accuracy. Id. at 10. And the Court ruled that the corrected certification met the
 3 requirements of Federal Rule of Evidence 902(11) and 18 U.S.C. § 3505. Doc. 633 at
 4 31:12–22. Thus, the Defendants’ argument rehashes evidentiary issues this Court has
 5 already addressed. These are standard trial disputes, not actionable misconduct.
 6         C.    There Was No “Doctoring” of Emails
 7         There is no evidence that any of the emails that were admitted at trial were
 8 doctored or altered by Francis. Doc. 902 at 6. Defendant Dolan sought to admit Dolan
 9 Ex. 451-1, an excerpt of a recording of Francis with Tom Wright, a podcast producer.
10 In that excerpt, Francis stated that in 2012 or 2013, John Beliveau warned Francis
11 about a possible indictment and advised him on how to “evade and clean up all the
12 servers and counterintelligence on it.” Dolan Ex. 451-1. Defendant Dolan argued that
13 the recording showed that Francis “altered electronic evidence in anticipation” of
14 being arrested. March 17, 2022 PM Tr. 21:5–7. The United States argued that the
15 recording related to deletion, not that the emails were “doctored or changed.” March
16 21, 2022 AM Tr. 10:6. The Court ultimately admitted the recording to impeach
17 GDMA’s business records certification signed by Francis. Id. at 15:3–4.
18         There is no evidence that any email presented at trial was doctored or altered by
19 Francis in 2012 or 2013 in anticipation of being arrested. The only example given by
20 the Defendants is a June 11, 2008 email where Francis “cut and paste” the content of
21 a contemporaneous email sent by Steven Shedd and sent that copied content to internal
22 GDMA personnel. Lausman Ex. 39.1; Doc. 902 at 6. But the fact that Francis, in
23 2008, “cut and paste” Shedd’s contemporaneous email into another correspondence is
24 not evidence that Francis altered or doctored emails in anticipation of being arrested.
25 Indeed, the email at issue was created more than five years before Francis was arrested
26 and years before Beliveau informed Francis of any impending indictment. Moreover,
27 trial evidence has included a number of examples where the sender of an email copied
28 content from another email. See, e.g., Gov. Ex. 40-1 and March 10, 2022 PM Tr.

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 1 22:19–21 (January 28, 2007 email from Edmund Aruffo to Francis where Aruffo “cut
 2 and paste” wine requests from Defendant Newland); Gov. Ex. 41-5 and May 5, 2022
 3 AM Tr. 17:21-25 (May 4, 2008 email from Shedd to Defendant Lausman where Shedd
 4 “ghost” wrote an email invitation to be sent by Defendant Lausman). In short, copying
 5 content from one email and pasting into another is not evidence of doctoring or altering
 6 evidence after the fact.
 7         D.    The Court Has Already Ruled on Authenticity
 8         Prior to the admission of each exhibit, the United States laid a foundation for
 9 authenticity. Likewise, the Court made a determination regarding authenticity prior to
10 admitting each exhibit. To the extent that the Defendants are claiming defects in
11 authenticity, Doc. 902 at 7–9, the Court has already made a ruling to the contrary.
12         Moreover, the specific claims raised by the Defendants are without merit. The
13 Defendants claim that Special Agent Cordell DeLaPena was not present when
14 materials turned over by Francis’s lawyers – such as the nine hard drives or the scanned
15 binders of financial documents to which Agent DeLaPena testified – was first obtained
16 from GDMA. Doc. 902 at 7. That is true. But Agent DeLaPena never claimed
17 otherwise, and the Defendants point to no testimony where Agent DeLaPena makes a
18 contrary statement. The claim that there were “[m]isleading assurances” made by the
19 United States in this regard, Doc. 902 at 7, is therefore without any basis.
20         In addition, with respect to the electronic materials handed over by Francis’s
21 lawyers, Agent DeLaPena testified extensively as to their authenticity, specifically that
22 he reviewed the metadata of relevant documents, he compared relevant documents to
23 documents contained on the laptop seized from Leonard Francis and the documents
24 were identical, and the documents contained distinctive characteristics, such as
25 specific email addresses and signatures. While it is true that the United States
26 originally planned to call the investigator who first obtained the electronic materials
27 and delivered them to Francis’s lawyers, Doc. 902 at 8, Agent DeLaPena’s testimony
28 obviated the need for that witness. See United States v. Boyce, 594 F.2d 1246, 1252

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 1 (9th Cir. 1979) (rejecting claim that the seizing agent was required for authenticity,
 2 since the district court found that there was adequate foundation without such
 3 testimony). Ultimately, the Court admitted such documents over objection and never
 4 conditioned admission on the investigator testifying.
 5         Moreover, the authenticity of the electronic materials was further corroborated
 6 by witnesses who had personal knowledge of those materials. See Federal Rule of
 7 Evidence 901(b)(1) (one illustration to establish authenticity is the “[t]estimony of
 8 witness with knowledge”). Throughout trial, the witnesses – including Edmund
 9 Aruffo, Steven Barney, Jesus Cantu, Edward Zawislak, Jeffrey Rathbun, Alexander
10 Gillett , and Stephen Shedd – have testified about emails they sent or received or other
11 materials where they have personal knowledge. This personal knowledge operates as
12 yet another layer of authenticity for the materials received from Francis’s lawyers.
13         E.    The United States Disclosed Relevant Impeaching Information for
14               Gillett
15         Pursuant to its obligations under Brady and Giglio, the United States produced
16 impeaching information for Alex Gillett. As noted by the Defendants, that material
17 included a letter from a member of the prosecution team to the Australian prosecutor,
18 stating “that given Mr. Gillett’s prosecution in Australia and his pledge to be
19 interviewed and cooperate fully with our investigation, we do not regard Mr. Gillett as
20 a potential defendant in the United States.” Doc. 902 at 9–10. Gillett’s attorney was
21 advised explicitly on January 27, 2022, “As we discussed previously, Mr. Gillett has
22 been prosecuted for these crimes in Australia and it is not the intent of the DOJ to
23 prosecute him further for the same conduct.” 5 In other words, the United States would
24 not further prosecute Gillett because he had already been prosecuted in Australia.
25 Gillett’s criminal prosecution was not accidental or incidental but was expressly
26 contemplated by the United States – records of the Australian court proceeding
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           This document was produced in discovery as GDMA-JX-GIG-000522.
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 1 indicate that “in 2016 US authorities referred allegations regarding the offender’s
 2 misconduct to the Australian Federal Police.” 6
 3         In the context of jury instructions, and specifically Ninth Circuit Model
 4 Criminal Jury Instruction 4.9 (“Testimony of Witnesses Involving Special
 5 Circumstances – Accomplice, Plea”), the United States stated: “The United States does
 6 not anticipate presenting testimony from any witness who received immunity. The
 7 United States does not object to using the other clauses of the instruction to the extent
 8 justified by the evidence at trial.” Doc. 594 at 8. The Defendants seize on this
 9 language and claim that the United States made a false representation regarding
10 immunity, apparently believing that the United States granted Gillett immunity. Doc.
11 902 at 9. It did not. As noted in the very material produced to the Defendants, the
12 United States declined further prosecution given Gillett’s prosecution in Australia.
13         In any event, the United States agreed to the remainder of the model instruction,
14 including: “You have heard testimony from [name of witness], a witness who . . .
15 [received [benefits] [compensation] [favored treatment] from the government in
16 connection with this case] . . . .” The central dispute between the parties is form rather
17 than substance. Did Gillett receive a benefit in the form of a promise from the United
18 States not to prosecute him if he cooperated and was prosecuted by Australian
19 authorities? Yes. Is that benefit properly described as “immunity?” The parties can
20 agree to disagree.     But the United States unquestionably fulfilled its disclosure
21 obligation with respect to this witness.
22         The Defendants also take issue with a standard admonition given to witnesses:
23 to refrain from writing substantive statements. Doc. 902 at 10. Under Jencks, such
24 statements would be discoverable and would need to be produced to opposing counsel.
25 It is a common practice to tell witnesses about this rule, who may not be familiar with
26 the nuances of criminal procedure. And such admonition is consistent with the case
27 law, since the United States has no obligation to create written statements discoverable
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 1 under Jencks. United States v. Bernard, 625 F.2d 854, 859 (9th Cir. 1980). Moreover,
 2 in no way is this admonition a direction to suppress Brady information. Indeed, if the
 3 witness gave exculpatory information orally, that information would need to be
 4 disclosed to the Defendants regardless of its form.        Bearing this out, after the
 5 admonition was given, the United States produced emails written by Gillett requesting
 6 special accommodations for his travel to the United States, 7 as well as additional
 7 information about Gillett via letter. 8 Discouraging witnesses from using informal
 8 means to share substantive case-related information is not misconduct.
 9        F.     The Court Has Already Ruled on Summary Testimony
10        During Agent DeLaPena’s testimony, the Defendants objected on a number of
11 occasions that the testimony was summary testimony. Though the Defendants have
12 couched the objection in terms of “summary testimony” or “summary witness,” that
13 objection is not accurate. Under Ninth Circuit case law, “summary testimony” is
14 testimony where the witness summarizes testimony or evidence that has previously
15 been admitted at trial. United States v. Leon-Reyes, 177 F.3d 816, 819 n.4 (9th Cir.
16 1999). Moreover, summary testimony of previously admitted testimony and evidence
17 is permissible in the discretion of the district court under Federal Rule of Evidence
18 611(a). United States v. Baker, 10 F.3d 1374, 1412 (9th Cir. 1993), overruled on other
19 grounds by United States v. Nordby, 225 F.3d 1053 (9th Cir. 2000) (collecting cases).
20 The objections here related to Agent DeLaPena’s interpretation or characterization of
21 a document’s content, which is more accurately viewed as a personal knowledge or
22 foundation objection.
23        The Court, in its contemporaneous rulings on these objections to Agent
24 DeLaPena’s testimony, exercised its gatekeeping function to draw the line between
25 appropriate and inappropriate testimony. In some instances, the Court overruled the
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          This document was produced in discovery as GDMA-000020.
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          This letter was sent to all counsel on April 29, 2022.
                                            - 16 -
 1 objection; and in others, the Court sustained the objection. Compare, e.g., April 11,
 2 2022 Tr. 27:2 (sustaining objection) with id. at 123:23 (overruling objection). The
 3 Defendants take issue with such testimony, Doc. 902 at 10–11, but the Court has
 4 already provided the evidentiary remedy to which they are entitled: sustaining the
 5 objections when warranted and disallowing the testimony.
 6         G.    The Court Has Already Ruled on the Use of the Words “Bribe” and
 7               “Conspiracy” During Trial
 8         As Defendants concede, the Court originally allowed the use of the words
 9 “bribe” and “conspiracy” at trial, over the Defendants’ objections. Doc. 902 at 12.
10 Defendant Loveless then filed briefing on the issue, Doc. 780, and the United States
11 responded, noting a number of cases that allowed the use of such terms at trial, Doc.
12 784 at 1–2. The Court took a measured approach, noting that although it had initially
13 allowed testimony that was more “generalized,” the Court signaled it would sustain
14 objections to conclusory testimony. March 22, 2022 AM Tr. 4:7–15. And the Court
15 sustained (and overruled) objections accordingly. See, e.g., id. at 96:24 (overruling
16 objection to the use of the word “bribery” in question regarding training). To the extent
17 that the Defendants objected to the use of these words at trial, Doc. 902 at 13, their
18 recourse was through objection and respective ruling from the Court. Likewise, to the
19 extent the Defendants objected to words they considered vague, id., the Defendants
20 had that same recourse. See, e.g., March 22, 2022 AM Tr. 14:11–12 (sustaining
21 objection to the phrase “one of those other people”). As with their other, evidentiary
22 issues, the Defendants’ claim here is not misconduct.
23         H.    The Court Has Already Ruled on the Admission of a Poster
24         In a supplemental brief, Defendant Loveless argues that the United States
25 attempted to introduce a poster given by members of the conspiracy to Francis, and
26 that such poster would present a false narrative. Doc. 920 at 12. 9 That poster was
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     9
           In addition, Defendant Loveless re-raises two other issues: (i) purported
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     misrepresentations regarding Ynah; and (ii) purported misrepresentations regarding
                                             - 17 -
 1 created by Sanchez at the request of Defendant Dolan. May 16, 2022 Tr. 28: 14–15.
 2 The United States made no misrepresentations regarding the poster and agreed with
 3 the Defendants that the signatures on the poster were made by Sanchez’s then-wife.
 4 Id. at 31:16–18. Ultimately, the Court excluded the poster on relevance grounds. Id.
 5 at 37:25–38:8. The exclusion of the poster was the appropriate remedy, not dismissal.
 6 It is hard to see how the attempted introduction of a poster is “flagrant misbehavior.”
 7 Kearns, 5 F.3d at 1253. Likewise, it is hard to see how there was any prejudice to
 8 Defendant Loveless, let alone the “substantial prejudice” required for dismissal, id.,
 9 given that the poster was excluded from evidence and the jury will never learn of it or
10 see it. Such exclusion was the appropriate “lesser remedial action” and dismissal is
11 therefore inappropriate. Bundy, 968 F.3d at 1031.
12                                    CONCLUSION
13         The Court should deny the motion to dismiss the Indictment. None of the issues
14 – individually or collectively – arise to “flagrant misbehavior” or have caused
15 “substantial prejudice” to the Defendants.        Instead, the Court has appropriately
16 addressed the vast majority of the issues raised with appropriate lesser remedies.
17
18 DATED: May 23, 2022                                   Respectfully submitted,
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                                                        RANDY S. GROSSMAN
20
                                                        United States Attorney
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                                                        /s/ David Chu
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                                                        Assistant United States Attorney
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   Sanchez and potential child pornography. Doc. 920 at 2–10. Procedurally, this
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   briefing ignores the schedule previously set by the Court to address the issues of
27 alleged misconduct and impermissibly attempts to augment the joint filing made in
   accordance with that schedule. Substantively, Defendant Loveless treads no new
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   ground and the United States submits on its response above.
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